77 F.3d 467
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward Lee BRAGG, Petitioner--Appellant,v.John B. METZGER, III;  Virginia Parole Board, Respondents--Appellees.
    No. 95-7653.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 7, 1996Decided Feb. 26, 1996.
    
      Edward Lee Bragg, Appellant Pro Se.  Mary Elizabeth Shea, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order affirming an order of the magistrate judge denying his motion to amend his 28 U.S.C. § 2254 (1988) petition.   We dismiss the appeal for lack of jurisdiction because the order is not appealable.   This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.   Loan Corp., 337 U.S. 541 (1949).   The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We deny a certificate of probable cause to appeal and dismiss the appeal as interlocutory.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    